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                         EXHIBIT 4
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                                      State of Louisiana
                                      DEPARTMENT OF JUSTICE
                                 OFFICE OF THE ATTORNEY GENERAL
                                           P.O. BOX 94005
                                           BATON ROUGE
                                             70804-9005




                                         August 4, 2023

 VIA EMAIL

 Denise Dykeman
 Jonathan Stein
 Dykeman.Denise@epa.gov
 Stein.Jonathan@epa.gov

 Re:   FOIA Request No. EPA-2023-005099

 Ms. Dykeman and Mr. Stein:

        I represent the State of Louisiana (the “State”), and on its behalf submit this
 letter in response to your letter sent by electronic mail on July 25, 2023, regarding
 the State’s FOIA request (EPA-2023-005099). As explained below, your response is
 unacceptable and unlawful, and the reasoning supplied therein is untenable. In
 particular, your proposed completion date of July 30, 2024—roughly 13 months
 after the June 29, 2023 request date and over 13 times the ordinary 20-business-day
 deadline of 5 U.S.C. § 552(a)(6)(A)(i)—is beyond the pale.

        While we are willing to discuss with you “search parameters … including the
 custodians, potential key words, and the date range(s) for each portion of [the
 State’s] request,” as you propose in your response (at 3), your proposed July 30,
 2024 completion date is so unreasonable as to be a non-starter. Please let us know
 times that you are available to talk next week (August 7-11).

        Before any such discussions next week, however, a few preliminary responses
 are in order.

        Contacts with the Press. It has become apparent to the State from highly
 specific press inquiries that EPA has been prodigiously leaking information to the
 press, including the details of non-public negotiations. Your response does not deny
 that such contacts with the press have occurred, and any such denials would be,
 quite frankly, incredible. And the remarkable rapidity with which the press has
 obtained information from EPA belies the agency’s instant contentions that
 production of such information would take 13 months (or even 13 days).

       It thus beggars belief that it would take EPA until the end of July 2024 to
 search for and produce the records of its contacts with the press. A few frank



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 conversations with EPA’s press shop, the individuals involved in the investigation
 of the relevant complaints (Complaint Nos. 01R-22-R6, 02R-22-R6, and 04R-22-R6),
 and the resulting informal resolution discussions could easily identify the
 individuals at issue and facilitate production of relevant documents with a week if
 EPA were so inclined. You obviously aren’t. And that lack of inclination is
 particularly apparent since the State has made such a search remarkably easy: we
 specifically identified the relevant organization and members of the press in
 Request No. 1, which could readily be used as search terms.

         The State therefore expects EPA to have the necessary conversations with its
 officials and employees about its relevant press contacts and produce the responsive
 documents within 20 business days of this letter (September 1, 2023). If you refuse
 to do so, we ask that take the necessary steps by that date to facilitate the State
 appealing your refusal to produce the relevant documents in the time requested, so
 that the State can expeditiously file its administrative appeal and, if necessary,
 initiate litigation in federal district court.

        Date Ranges. Although your letter asks the State to discuss inter alia “date
 range(s) for each portion of your request,” the State’s request already did so.
 Specifically, the State’s request (at 2) explicitly provided: “Unless otherwise
 specified, the time frame for this request is March 1, 2021 to the present.”

         Your response appears to have overlooked that the State has already
 provided a highly specific date range. If you have concerns or questions about that
 date range, please let us know. (If, for example, the meaning of “March 1, 2021” or
 “the present” is somehow unclear to EPA, we can discuss as necessary.) But we do
 not understand why EPA can lawfully stop the FOIA production clock to ask for
 clarification of the State’s date range when that date range could not have been
 clearer. In addition, EPA’s apparent failure to account for the State’s explicit date
 range does not inspire confidence as to the agency’s attention to detail in responding
 to the State’s request.

         Custodians. You may limit your initial search to (1) all EPA officials that
 were involved with investigation of the complaints at issue, as well as all EPA
 officials that had contact with the press or complainants, including: Lilian Dorka,
 James Payne, Melissa Hoffer, Mary O’Lone, Ronald Scott, Daniel Isales, Zahra
 Khan, Anhthu Hoang, Julia Rhodes, James McGuire, Marcia Moncrieffe, David
 McCay, Suzanne Andrews, Lynde Schoellkopf, and any other individuals that EPA
 reasonably believes were involved with investigation of the Complaints, and (2)
 individuals in the Office of the Administrator involved with scheduling and/or
 communications regarding the Journey to Justice Tour, and (3) EPA officials
 involved with Grant Nos. 01F70501 and 01F70601. As to the latter two requests,
 EPA should be in a position to determine what custodians would have the relevant
 information. (EPA, for example, presumably knows who schedules and keeps




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 Administrator Regan’s calendar, and the State should not be required to ascertain
 those individuals when their identity should be obvious to the agency.)

        Key Words. The State believes that its request provided obvious key
 words/search terms for the request. To streamline the process, however, the State
 suggests the following search terms for EPA’s initial search: “Denka,” “Formosa,”
 “Louisiana,” “LDEQ,” “LDH,” “Louisiana Department,” “Cancer Alley,” “Journey to
 Justice,” “01R-22-R6,” “02R-22-R6,” “04R-22-R6,” “Title VI,” “environmental justice,”
 and “disparate impact,” as well as all individuals and organizations included in
 bullet points for Requests No. 1 and 6.

       Subsequent Searches. Although the State is providing suggestions for
 custodians and key words for an initial search, the State reserves the right to
 demand an expanded search based on the documents provided by EPA’s initial
 search using these custodians/key words.

       Administrator Regan’s Calendar. For Administrator Regan’s calendar,
 your response (at 4) told the State: “please see … the senior leaders calendar page”
 and provided a link to https://www.epa.gov/senior-leaders-calendars.

       There are two glaring issues with this response. First, Administrator Regan’s
 calendar for November 2021, when the Journey to Justice Tour was in Louisiana,
 appears to be entirely blank. See id. Please see attached a copy of the
 Administrator’s calendar for November 2021 as reproduced from the website link
 that you provided, which lacks a single appointment. For the whole month.
 Similarly lacking is even a single appointment every other month in 2021. Indeed,
 the calendar on the website does not appear to have any entries whatsoever until
 August 4, 2022. Id.

        Respectfully, did you check this link before providing it to the State?
 Directing the State’s attention to a link that is devoid of responsive information
 betrays a lack of diligence towards the State’s request that is difficult to miss. The
 State was able to ascertain the complete absence of useful information from that
 link in under two minutes, which fairly begs the question of whether EPA checked
 that link itself before providing that response to the State. And whether that
 response was the product of mere negligence or something more intentional, it is
 plainly insufficient.

        Second, while lacking any calendar entries for the relevant dates, the website
 link provided does supply a glaring caveat: “The simplified calendar does not
 constitute the official record-copy of the calendar for the purpose of documenting the
 activities of Senior Leaders. If you are seeking the official record-copy of the
 Administrator's         calendar,      please     submit      a    FOIA     request.”
 https://www.epa.gov/senior-leaders-calendars/calendar-michael-s-regan-epa-
 administrator (emphasis added) (last visited August 3, 2023).




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        The State has done just that: requesting an “official record-copy of the
 Administrator’s calendar” by FOIA request. Directing the State back to a website
 that is expressly less complete/official than what can be sought by a FOIA request is
 not responsive to the State’s FOIA request. Instead, EPA’s response constitutes a de
 facto Catch-22—i.e., EPA’s response to a FOIA request is to provide a link to a
 website telling the State to file a FOIA request (which it already did). That is
 positively Kafkaesque in nature, rather than a legally defensible response to the
 State’s FOIA request.

        “Phrased as Legal Discovery.” EPA’s response includes a strange objection
 (at 3) that the State’s requests are “phrased as legal discovery.” It is difficult to
 understand EPA’s position here.

        To the extent that EPA’s objection is that the State’s requests are phrased
 more in terms of the lawyerly precision of discovery requests, rather than the more
 informal nature of many FOIA requests, that should assist EPA in responding to
 the requests. Your response does not otherwise indicate how using the more-precise
 legal language of discovery requests would hinder, rather than facilitate, EPA’s
 ability to respond to the State’s request.

        Your response appears to intimate a different, more-problematic objection:
 that the documents sought are relevant to a pending lawsuit, Louisiana v. EPA, No.
 2:23-cv-00692 (W.D. La.). But FOIA does not exempt documents from production
 that might be relevant to pending suits, just as it does not exempt documents that
 might be embarrassing or legally detrimental to the agency.

        The upshot is this: your “phrased as legal discovery” objection is both (1) not
 a relevant consideration/defense and (2) highly suggestive that EPA is slow-walking
 its response to the State on improper bases, including to gain tactical advantages in
 a pending lawsuit.

        If you believe that your “phrased as legal discovery” objection has any actual
 legal significance, we invite you to clarify the matter and provide supporting
 citations of legal authority. Absent any such additional information with supporting
 citations from EPA, the State regards this objection as improper and indefensible.
 Further, the State will litigate the matter fully as necessary, both by administrative
 appeal and in federal courts as needed.

                                        *       *    *

       As I indicated earlier, I look forward to discussing these matters with EPA.
 We have provided this initial information to facilitate those discussions. Please let
 us know your availability for discussions for the week of August 7-11. In the
 meantime, the State respectfully insists that EPA restart the clock for processing of
 the State’s FOIA request (stopped by EPA on July 25). The State further objects to




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 any future “stop clocks” and expects EPA to resume processing the State’s FOIA
 request expeditiously.


                                           Sincerely,




                                           Joseph Scott St. John
                                           Deputy Solicitor General
                                           Counsel for the State of Louisiana




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